           Case 1:17-vv-00185-UNJ Document 71 Filed 10/11/19 Page 1 of 3




         In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 17-0185V
                                      Filed: July 23, 2019
                                        UNPUBLISHED


    RIVER COMMUNITIES FIDUCIARY
    SERVICES on behalf of the ESTATE
    OF Y.M.B., a minor child,
                                                             Special Processing Unit (SPU);
                        Petitioner,                          Attorneys’ Fees and Costs
    v.

    SECRETARY OF HEALTH AND
    HUMAN SERVICES,

                       Respondent.


Anne Carrion Toale, Maglio Christopher & Toale, PA, Sarasota, FL, for petitioner.
Glenn Alexander MacLeod, U.S. Department of Justice, Washington, DC, for
respondent.

                      DECISION ON ATTORNEYS’ FEES AND COSTS1

Dorsey, Chief Special Master:

       On February 8, 2017, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the
“Vaccine Act”). Petitioner alleges that his minor child, Y.M.B. suffered fever, status
epilepticus, and acute encephalitis causally related to an adverse reaction to
vaccinations she received on October 7, 2015. Petition at ¶¶ 2, 10, 12. On December


1 The undersigned intends to post this decision on the United States Court of Federal Claims' website.
This means the decision will be available to anyone with access to the Internet. In accordance with
Vaccine Rule 18(b), petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, the
undersigned agrees that the identified material fits within this definition, the undersigned will redact such
material from public access. Because this unpublished decision contains a reasoned explanation for the
action in this case, the undersigned is required to post it on the United States Court of Federal Claims'
website in accordance with the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal
Management and Promotion of Electronic Government Services).

2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
          Case 1:17-vv-00185-UNJ Document 71 Filed 10/11/19 Page 2 of 3



19, 2018, the undersigned issued a decision awarding compensation to petitioner based
on the respondent’s proffer. ECF No. 58.

       On May 23, 2019, petitioner filed a motion for attorneys’ fees and costs. ECF
No. 65. Petitioner requests attorneys’ fees in the amount of $85,052.90 and attorneys’
costs in the amount of $28,985.14. Id. at 1-2. Additionally, in compliance with General
Order #9, petitioner filed a signed statement indicating that petitioner incurred
$10,689.50, payable to Julian Gray Associates, in expenses related to establish the
guardianship. ECF No. 65-3. Thus, the total amount requested is $124,727.54.

       On June 5, 2019, respondent filed a response to petitioner’s motion. ECF No.
66. Respondent states that “[n]either the Vaccine Act nor Vaccine Rule 13 requires
respondent to file a response to a request by a petitioner for an award of attorneys’ fees
and costs.” Id. at 1. Respondent adds, however, that he “is satisfied the statutory
requirements for an award of attorneys’ fees and costs are met in this case.” Id. at 2.
Respondent “respectfully recommends that the Chief Special Master exercise her
discretion and determine a reasonable award for attorneys’ fees and costs.” Id. at 3.

       On June 6, 2019, petitioner filed a reply. ECF No. 67. Petitioner disputes
respondent’s position that he has no role in resolving attorneys’ fees and costs and
further reiterates his view that his attorneys’ fees and costs in this case are reasonable.

      The undersigned has reviewed the billing records submitted with petitioner’s
request. In the undersigned’s experience, the request appears reasonable, and the
undersigned finds no cause to reduce the requested hours or rates.

        The Vaccine Act permits an award of reasonable attorneys’ fees and costs. §
15(e). Based on the reasonableness of petitioner’s request, the undersigned GRANTS
petitioner’s motion for attorneys’ fees and costs.

        Accordingly, the undersigned awards the total of $124,727.543 as follows:

            •    A lump sum of $114,038.04, representing reimbursement for
                 attorneys’ fees and costs, in the form of a check payable jointly to
                 petitioner and petitioner’s counsel, Anne Carrion Toale; and

            •    A lump sum of $10,689.50, representing reimbursement for
                 guardianship attorney’s fees and costs, in the form of a check
                 payable jointly to petitioner and Julian Gray Associates.

3This amount is intended to cover all legal expenses incurred in this matter. This award encompasses all
charges by the attorney against a client, “advanced costs” as well as fees for legal services rendered.
Furthermore, § 15(e)(3) prevents an attorney from charging or collecting fees (including costs) that would
be in addition to the amount awarded herein. See generally Beck v. Sec’y of Health & Human Servs.,
924 F.2d 1029 (Fed. Cir.1991).

                                                    2
           Case 1:17-vv-00185-UNJ Document 71 Filed 10/11/19 Page 3 of 3




             •   Petitioner requests checks be sent to Maglio Christopher & Toale,
                 PA, 1605 Main Street, Suite 710, Sarasota, Florida, 34236.

        The clerk of the court shall enter judgment in accordance herewith. 4

IT IS SO ORDERED.

                                                           s/Nora Beth Dorsey
                                                           Nora Beth Dorsey
                                                           Chief Special Master




4 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.
                                                      3
